Case 1:19-va-00267-TCB Document 1 Filed 04/03/19 Page 1 of 19 Page|D# 1
AO 106 (Rev. 04/ lO) Application for a Search Warrant

UNITED STATES DISTRICT COUIgI _ " “'¢#~“~~
for the ifr~‘ w h .
Eastem District of Virginia f

 
  

In the Matter of the Search of

(Brie_/Iy describe the property to be searched
or identify the person by name and address)

60 STORCK ROAD
FREDER|CKSBURG, VA 22406

APPLICATION FOR A SEARCH WARRANT
I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (idemij) the person or describe the
property to be searched and give its location):

60 STORCK ROAD, FREDER|CKSBURG, VA 22406, as described in Attachment.

located in the Eastern District of Virginia , there is now concealed (identijj) the

person or describe the property to be seized)f
See Attachment.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
l!{evidence of a crime;
dcontraband, fruits of crime, or other items illegally possessed;
d property designed for use, intended for use, or used in committing a crime;
CI a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Sectz'on Ojj`ense Description
18 U.S.C. § 641 Theft of public records. -

The application is based on these facts:

d Continued on the attached sheet.
I'_'l Delayed notice of days (give exact ending date if more than 30 days: ) is requested

under 18 U.S.C. § 3103a, the basis of which is set forth on the a hed sheet. \

Applicant ’s signature
SAUSA Steven Brantley/AUSA Jonathan L. Fahey David R. Stupar, Specia| Agent, O|G
/gfinted name and title

Swom to before me and signed in my presence Theresa Carro|l Buchanan

 

Un' States Magistrate Judge
Date: *(,|:{l,l_?j § ;: z _./
V Jua'ge ’s signature

City and state: A|exandria, Virginia Hon. Theresa Carrol| Buchanan, U.S. Magistrate Judge
Printed name and title

 

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IN THE UNITED sTATEs DrsTchT CoUrI'z".'r.; c ~ -' ~ ll
FoR THE DISTRICT oF vIRGINIA ill AFR

      

IN THE MATTER OF THE SEARCH OF:

Case No. 1:19-sw-267
60 STORCK ROAD
FREDERICKSBURG, VA 22406

 

AFFIDAVIT IN SUPPORT OF AN
APPLICATION FOR A SEARCH WARRANT

I, David R. Stupar, a Special Agent of the Offrce of Inspector General (“OIG” , National
Archives and Records Administration (“NARA”), having been duly sworn, state as follows:

INTRODUCTION AND AGENT BACKGROUND

l. I make this affidavit in support of an application under Rule 41 of the Federal
Rules of Criminal Procedure for a warrant to Search 60 Storck Road, Fredericksburg, VA 22406
(TARGET LOCATION), as further described in Attachment A.

2. I submit, pursuant to the facts set forth in this Affrdavit, that there is probable
cause to believe that the TARGET LOCATION` contains evidence, fruits, and instrumentalities
of violations of 18 U.S.C. § 641 (thett of public records).

3. I am an “investigative or law enforcement officer of the United States” within the
meaning of Section 2510(7) of Title 18, United States Code, that is, an officer of the United
States who is empowered by law to conduct investigations of and to make arrests for offenses
enumerated in Section 2516(1) of Title 18, United States Code.

4. I have been a Special Agent With NARA OIG since November 2018. l have over
15 years of experience in criminal investigations with the Federal government and District of

Columbia government During that time, I have authored affidavits in support of arrest warrants,

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which resulted in the arrest of wanted fugitives from justice, and of persons for Whom probable
cause existed relating to the commission of Federal crimes. I have been trained and participated
in the execution of search warrants calling for the seizure of business records, and have
conducted investigations involving fraud against the United States Government as it pertains to
NARA and other government agencies.

5 . Based on my training and experience, and the training and experience of other
agents who have relayed information to me about theft investigations, I know that:

6. individuals who steal federal records often keep stolen records at their\residence
and also often maintain photographs or other documentation regarding the stolen federal records
within these same locations; and

7. individuals Who steal federal records sometimes sell these records and these
individuals may have invoices, payment records, correspondence, email, or other evidence which
identifies to whom they have sold these records, which is typically maintained in their residence

8. Except where otherwise noted, wherever in this Affidavit I indicate that a
statement was made by an individual, that statement is described in substance and in part and is
not intended to be a verbatim representation of What Was said.

9. The facts and circumstances set forth in this affidavit are based upon my personal
knowledge, training, observations, experience, and investigation, along with the findings and
observations of other investigators involved with this investigation All observations referenced
below that were not personally made by me were either relayed directly to me by the persons
who made such observations, by those who corroborated such information, or from reports

reviewed by me. This affidavit contains information necessary to support probable cause for this

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application It is not intended to include each and every fact and matter observed by me or
known to the law enforcement community.
PROBABLE CAUSE

I am investigating the theft of several World War Two era dog tags from the National
Archives in College Park, Maryland, in violation of 18 U.S.C. § 641 (thefc of public records).
The dog tags belonged to three American airmen Who Were killed when their bomber collided
with another aircraft over Germany in July 1944. I suspect that Robert Michael Rumsby, of
Fredericksburg, Virginia, removed these dog tags from their controlled-access storage box at the
National Archives and is keeping them at his home in Fredericksburg. 1 suspect Mr. Rtunsby
because of the strong interest he has shown in the crash of these two aircraft (including an
alleged family connection with one of the other airman involved in the crash), because Mr.
Rumsby Was the only person (aside from National Archives personnel) to access the storage box
containing the dog tags during the timeframe in which they Went missing, and finally, because

Mr. Rumsby has also been implicated in a separate theft of dog tags from the National Archives.

I. NARA Record Group 242

10. NARA is responsible for preserving and maintaining government and historical
records and providing public access to such records. NARA has research facilities throughout
the United States, including the National Archives at College Park, located at 8601 Adelphi
Road, College Park, Maryland.

11. Members of the public can visit the National Archives at College Park and obtain
a Researcher Identification Card to review records maintained by NARA. ln order to obtain a
Researcher Identification Card, they must register with the NARA Research Registration Room,
Where they are required to present government~issued photo identification, such as a driver’s

license, PIV card, or passport They may also provide a student identification card - so long as it

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has a photograph. All NARA Researcher Identification Cards contain a DMV-style photo of the
researcher - taken at the time of registration - on the front of the card.

12. Once a Researcher Identification Card is issued, its recipient may proceed to the
NARA research room by passing through a security turnstile, at Which time a security guard
inspects their Researcher Identification Card to ensure the bearer is authorized to enter.

13. Once the researcher enters the research room and wants physical access to
NARA’s records, the must complete a request form called a “Reference Service Slip, NARA
Form NA 14001.”

14. NARA staff then retrieves the requested records from storage, and delivers the
records to the researcher in the research room. Prior to providing records to the researcher,
NARA staff members again inspect the Researcher Identification Card to ensure the records are
being provided to the same person listed on the “Reference Service Slip, NARA Form NA
14001.”

15. Except in special circumstances not relevant here, a researcher may not remove
records from the research room. Researchers may, however, photograph NARA records within
the research room using digital cameras, cellular telephones with digital cameras, and other types
of electronic recording devices.

16. Among the records stored at National Archives at College Park are records within
Record Group (“RG”) 242. RG 242, National Archives Collection of Foreign Records Seized,
includes records of the German Luftgaukommandos during World War II. The
Luftgaukommandos were the regional German Air Force commands whose responsibilities
included the preparation of reports on Allied aircraft and aircrews that Were shot down, or crash-

landed, within their geographical boundaries

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17. The Luftgaukommandos Downed Allied Aircraft Reports (entries Al 1013, 1015, ‘
1017, 1019, 1022, 1024, 1026, 1028, 1030, and 1032) consist of original Gennan reports of`
Allied aircraft that crashed over German-controlled areas of Europe during World War II. The
files often contain dog tags, military identification cards, immunization records, and other items
removed by the Germans from Allied personnel killed or captured during the aerial Warfare in
the World War II European Theater. The dog tags seized by the Gerrnans and included in the
Luftgaukommandos Downed Allied Aircrafc Reports files often bear evidence of damage such as
dents and charring due to fire sustained during the crashes. The dog tags also bear pencil
markings representing the German file number.

18. The Luftgaukommandos Downed Allied Aircraft Reports (including any dog tags,
military identification cards, immunization records, and other items) were seized by Allied forces
at the end of World War II. As discussed above, the records are currently maintained at the
National Archives at College Park.

19. ln response to the high researcher interest in these records, NARA began
systematically documenting the contents of each file in or about 2015 in order to provide staff
and researchers with the ability to search the records by name of airman as well as determine if
- there is a dog tag in the file for a specific individual This activity consisted of creating a
database of the files containing the names of each airman listed and indicating if dog tags or
other items were found to be present in the files `for each named airman. NARA completed the
inventory in 2017. No photographs of the files Were made by staff during this inventory. NARA
determined that there were approximately 30,000 dog tags included in RG 242, National
Archives Collection of Foreign Records Seized, Luftgaukommandos Downed Allied Aircraft

Reports.

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20. On November 28, 2016, NARA staff inventoried Box 268 and documented
finding no dog tags for Airman Whitus, Airrnan McKenzie, and Ainnan McKee. This was not
alarming to staff at the time, because not every downed airman file has a dog tag for each airman
listed Within the files’ documentation For example, a dog tag may not be present in the file for a
particular airman because one was never found by the German authorities when they inspected
the crash scene.

21. In addition, in or about 2013, the Defense Prisoner of War/Missing Personnel
Office (“DPMO”) _ later merged in or about 2015 with two other entities to create the Defense
POW/MIA Accounting Agency (“DPAA”) (for ease of reference, DPMO will be referred to as
DPAA herein) - dispatched contract researchers to National Archives at College Park and
commenced photographing the contents of downed airman files contained in NARA’s RG 242.

22. Of note, in 2015, NARA staff conducting the inventory of the files were not yet
aware that DPAA had imaged many of these same files in 2013. Because DPAA had imaged
many of the files in 2013, present-day NARA staff now know When and which dog tag was in a
particular box.

23. Persons of Interest: Robert Michael RUMSBY (“RUMSBY” , and Brittany
Arnber Spencer Rumsby (“SPENCER”). They currently reside at 60 Storck Road,
Fredericksburg, VA 22406. They were married on October 28, 2018. RUMSBY is currently a

Sergeant in the U.S. Army Reserve.

II. Initial Theft of Airman Theodore Ream’s Dog Tags
24. RUMSBY was implicated in the theft of the dog tags at issue in this affidavit after

NARA~OIG, Office of Investigations agents discovered RUMSBY’s involvement in the theft of

a separate set of dog tags from NARA Archives II in College Park, Maryland. I believe these dog

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tags are located at SPENCER’s grandmother’s house in Maryland. I have applied for a separate
- Warrant for that residence from in the District of Maryland. That theft involves the dog tag
belonging to Airman Theodore Ream, who perished in a plane crash on May 27, 1944.

25. NARA stored Airman Ream’s dog tag in NARA Record Group 242, Entry 1022,

Box 247, KU File 1986. In 2013-2014, DPAA imaged Box 247, including Airman Ream’s dog

tag.

 

26. On January 22, 2018, RUMSBY posted a photograph to the website “Find-a-
Grave.com”, located at ht_tps://www.findagrave.com/memorial/84147804/theodore-r-ream, of a
shadowbox containing a photograph of Airman Ream, what appears to be the dog tag of Airman
Ream, and a plaque that reads “Theodore Ream.” I believe this shadowbox is currently in Chloe

Ream’s house, as she is Ream’s oldest living surviving relative

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III. Theft of the Whitus, McKenzie, and McKee Dog Tags
. 27. In December 2018, the NARA Chief Operating Officer (COO) had been

searching the internet for a dog tag associated With World War Two airman Theodore Ream.
Ream’s dog tag was previously reported missing from NARA. The COO came across a website
called Find-a-Grave, in which was posted an image of Theodore Ream’s dog tag. The posting
party was identified as Robert Rumsby, and the photos of the Robert Rumsby on this website
matched the photos of RUMSBY on other online platforms (such as facebook), and the photo of
RUMSBY on his NARA researcher card. The COO then reviewed RUMSBY’s research history
at NARA and determined that RUMSBY previously accessed the box containing the missing
Theodore Ream dog tag. The COO noted that RUMSBY had also accessed box 268 at NARA,

which contained dog tags for Airman Albert J. Whitus, Airman John E. McKenzie, and Airman

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J ames F. McKee. The COO discovered that the dog tags belonging to these airmen were present
when Box 268 was inventoried in 2013, but Were not present when the box was inventoried
again in 2016. Other than the NARA personnel conducting these inventories, RUMSBY Was the
only person to access Box 268 during this time period.

28. NARA’s COO referred his findings to the NARA-OIG, Office of Investigations
(OI). The COO alleged that dog tags belonging to Airman Albert J. Whitus, Airman John E.
McKenzie, and Airman James F. McKee were missing from Box 268 and that RUMSBY was
suspected of stealing them, as RUMSBY was the only member of the public to have access to the
dog tags during the timeframe they went missing On January 31, 2019, the OI initiated an
investigation into Box 268’s missing dog tags.

29. The three missing dog tags from Box 268 belong to three airman killed when their
aircraft collided with another bomber over Germany in July 1944. On July 21, 1944, the B-24
airplane “Diana-Mite” collided with another B-24, “Our Baby” and crashed near Darmsheim,
Germany. Nine crewmembers on Diana-Mite were killed and one became a POW. The Diana-
Mite crash was documented by the Germans in KU-2538, Which is now maintained in NARA
Box 268 of the captured Gerrnan Downed Allied Aircrafc Reports within NARA’s Record Group
242, “National Archives Collection of Foreign Records Seized” at NARA. Airmen Albert J.
Whitus, J ames F. Mckee, and John E. McKenzie Were aboard Diana-Mite When it crashed and
their dog tags, which had been removed from their bodies by the Germans and placed in KU-
253 8, were maintained by NARA in box 268.

30. Six crewmembers on “Our Baby” Were killed in the crash and three became
POWS. One of the “Our Baby” crewmembers who died in the crash was SGT Donald W. Sang.

Sang’s dog tags Were not recovered by NARA at the end of World War Two.

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31. On May 26, 2012, Stars & Stripes reported an article “Metal detector hobbyists
find possible WWII remains,” which details the rediscovery of the crash site for “Our Baby” and
“Diana-Mite” by German metal detector hobbyists.

32. On May 26, 2012, RUMSBY posted to a warrelics.eu forum thread about the B-
24 crash on July 21, 1944. On the thread, RUMSBY claims to be the great-nephew of SGT

Donald W. Sang. Specifically, RUMSBY posts the following:

F‘Hello, I’m the great nephew of SFT Donald W. Sang who was the tailgunner aboard
“Our Baby” on 21, July 1944. The remains of the 15 airmen who were KIA from both
crews have been positively identified and accounted for. However, after looking over the
Individual Deceased Personnel Files (IDPF's) in my possession for all of these airmen,
there are three individuals who only had their partial remains recovered for in a forest
12 were buried in two nearby cemeteries The other three in the woods. T his forum was
brought to my attention today. 1 ’m actually in the U.S. Army myself and I will be
requesting to be apart of this JPAC excavation team. My email address
is robertrumsby@yahoo.com Please email me with anything further that you may have to
share Robert_M. Rumsby”

33. The online Find A Grave memorial for Donald W. Sang
(ht_tps://www.findag;ave.com/memorial/SS904120/donald-Walter-sang ) is maintained by Robert
Rumsby, according to the website. Robert Rurnsby has also posted two photos of himself at
Donald Sang’s gravesite on the Donald Walter Sang online Find A Grave memorial

34. In April 2014, a Facebook page documenting the Diana-Mite recovery was
created. In April 2015, RUMSBY posted several photographs and comments on the Diana-Mite
Facebook page, including photographs on this page of his personal visit to the gravesites of

Airman McKee and Airman McKenzie.

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35. On the networking and employment site Linkedln, RUMSBY purported to be a
historian with the MlA Recovery Network. He also claimed to have spent 2,200 hours
conducting research at NARA. He has a NARA researcher card.

36. Previously, in May 2013, DPAA imaged Box 268, which included a red index
card containing six dog tags: Airman Whitus (l), Airman Vernon C. Deleon (1), Airman McKee
(1), Airman McKenzie (2), and Airman Frank T. Gengler (l). All of these individuals were
Airrnen on the Diana-Mite Aircraft.

37 . On November 28, 2016, NARA staff inventoried Box 268 and noted that dog tags
for Airman Whitus, Airman McKenzie, and Airman McKee were not present This was not
necessarily a cause for concern at the time, because not every downed airman file has a dog tag
for each airman listed within the files’ documentation, and NARA staff did not immediately
compare the results of their inventory with the 2013 DPAA inventory.

38. However, in December 2018, NARA staff conducted a review of RUMSBY’s
records requests at NARA Archives II in College Park, Maryland after identifying RUMSBY as
a suspect in the theft of` the Theodore Ream dog tags. It was at this time that NARA staff
compared the results of the 2013 DPAA inventory of Box 268 With that of the 2016 NARA staff
Box 238 inventory, and concluded that the dog tags for Airman Whitus (1), Airman McKenzie
(1), and Airman McKee (1) had been removed from Box 238 at some point between the two
inventories

39. According to NARA’s records, there were only two individuals who were served
Box 268 between the time that Box 268 was inventoried by DPAA in May 2013 and NARA on
November 28, 2016. One of those individuals Was RUMSBY and the other was a NARA

volunteer specifically assigned and entrusted with inventorying the files.

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40. According to NARA’s records, on June 3, 2015, RUMSBY was served Box 268
at NARA Archives II in College Park, Maryland (Pull 301852). The dog tags at NARA are
maintained in secure, climate-controlled, purpose-built, storage rooms called “Stacks.” The
stacks feature electronic key-card access for authorized personnel only. When researchers wish
to review the files that contain the dog tags, they must complete and sign a “Reference Service
Slip,” NARA Form NA 14001, and provide it to NARA staff. NARA staff review the NA 14001
for accuracy and to ensure the identity of the requesting party is legible and that the signature of
the requesting party is present on the form. NARA staff will then retrieve the requested records,
check the researcher’s Researcher Identification Card, and provide them to the researcher in
NARA’s controlled~access research room. The researcher signs acknowledging receipt NARA
staff keep physical copies of the NA 14001, even after the researcher has completed using the
record (in part, for the very reason outlined in this search warrant, Which is to investigate
suspected theft of the records.)

41. Two months later, on August 7, 2015, according to NARA’s records, RUMSBY
was again served Box 268 (Pull 311933) at NARA Archives II in College Park, Maryland. On
the same day, RUMSBY’s wife, Brittany Amber Spencer Rurnsby (“SPENCER”), applied for
and received her researcher card, allowing her to enter and use the Archives II research room.

42. I believe the stolen dog tags are stored in RUMSBY’S horne due to their
significance and the historical attachments to RUMSBY’s great uncle, Airman Sang. Items such
as dog tags are very sentimental in nature and individuals keeping these types of items Will
typically display them in popular military frames or shadowboxes, which are normally hung on

Walls of a residence in a place of honor. Small items such as dog tags can also be inserted in

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keepsake or memento type albums which might be kept in a living room, master bedroom, or
study.
IV. Rumsby’s Fredericksburg Home

43. The OI conducted a search for RUMSBY through the Department of Homeland
Security’s National LaW Enforcement Communications Center (NLECC) and learned that he and
SPENCER currently reside at 60 Storck Road, Fredericksburg, VA 22406. Their ownership of
this property is confirmed by the Stafford County, VA Property Assessors Ofiice official website
that shows that RUMSBY and SPENCER purchased this property on April 20, 2018. On March
29, 2019, I personally conducted a surveillance of 60 Storck Road, Fredericksburg, VA, and
witnessed a female closely matching the physical shape and appearance of SPENCER depart the
residence at approximately 0745 hours in a late model `Ford Mustang. I observed the license plate
of the Ford Mustang to read “BAPONY.” A check with NLECC showed that 2017 Ford
Mustang is registered to SPENCER at the address Where SPENCER lived immediately prior to
her April 2019 purchase of the 60 Storck Road home with RUMSBY.

44. Photographs posted to the Facebook page of SPENCER show SPENCER and
RUMSBY in various settings that closely match the description of this property. I base this on
28 photographs posted on Realtor.com from the last sale of the property which show numerous
rooms throughout the residence and pictures of the back deck and back yard. At least two of the
photographs posted by SPENCER show a color match of the outside vinyl siding in the back of
the house and a backyard photograph that appears to match the dimensions shown in the
Realtor.com website. Other photographs show similar characteristics to the back deck shown on

the Realtor.com website.

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CONCLUSION

45. Based on my training, experience, and knowledge of this investigation, including
the facts discussed above, I have probable cause to believe that RUMSBY was involved in the
theft of approximately three dog tags belonging to Airman Albert J. Whitus, Airman John E.
McKenzie, and Airman J ames McKee from the National Archives in College Park, in violation
of 18 U.S.C. § 641 (theft of public records). Further, I have probable cause to believe that
RUMSBY is keeping those dog tags at his home in Fredericksburg, Virginia. The basis for my
belief is that these three airman died in the same crash that involved RUMSBY’s great uncle,
RUMSBY’s strong interest in this crash, as shown by his postings on several online platforrns,
RUMSBY being the only person to access the box containing these dog tags after the box’s
contents were specifically accounted for, and RUMSBY’s apparent involvement in the separate
theft of Airman Ream’s dog tag, which now appears to be displayed at the home of one of

RUMSBY’s relatives

(CONTINUED ON NEXT PAGE)

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46. l submit that this affidavit supports probable cause for a warrant to search the
TARGET LOCATION described in Attachment A and seize the items described in Attachment

B.

Respectfully submitted,

wade

David R. Stupar

Special Agent ,

National Archives and Records Administration
Office of Inspector General

d sworn to before me on April 3, 2019

/ /Sl
heresa Carroll Buchanan

United Q+aigs Magi§trate Judge

The Honorable Theresa Carroll Buchanan
United States Magistrate Judge
Alexandria, Virginia

 
   
 

 

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ATTACHMENT A
Property to be searched

The property to be searched is 60 Storck Road, Fredericksburg, Virginia, 22406 and its
curtilage (“TARGET LOCATION”). The property is further described as a single-family, 2-
story, standalone house, tan.in color, with a dark colored shingled roof. There are five dormer
windows on the second story along the front of the house. There are three windows, connected
together making up a large bay window to the left side of they front door, and two bay windows to
the right of the front door. The front door is dark in color surrounded by white framing There is
an overhang over the front door and the two Windows to the right of the front door, creating a
covered porch. The overhang is supported by round, white painted pillars. The overhang is
covered by the same type shingles as those on the roof of the home. Black shutters surround all
the windows on the front of thehome. There is an attached 2-car garage with a wide, single
White door. There are three steps leading up to the front door. There is a landscaped area below
the 3-part bay window with some bushes, and to the right of the walkway leading up to the front
door. There are two exterior torch type lamps on each side of the garage door. In the front of the
house, there is a grass yard. To the left of the grass, there is an asphalt driveway leading directly

into the garage.

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There is a stand-alone storage shed located on the property in the backyard. The shed is
tan in color and has a wood platform leading into a 2-door entrance There is a single window on
each side of the front doors. The windows have white framing and dark colored shutters. There
is also a single side-door entrance on the right side facing the front door. The shed has a shingle

roof that are grey/black in color.

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ATTACHMENT B
Particular things to be Seized
1. All records and information that constitute fruits, evidence and instrumentalities
relating to violations of 18 U.S.C. § 641 (theft of public records), including records and
information relating to:

A. property belonging or maintained by National Archives and Records
Adrninistration (“NARA” , including but not limited to records contained
within RG 242, National Archives Collection of Foreign Records Seized,
Lufcgaukommandos Downed Allied Aircraft Reports;

B. dog tags belonging to U.S. servicemen;

`C. The National Archives at College Park; and

D. indicia of occupancy, residence ownership, possession, or use, including
but not limited to, utility and telephone bills, rental agreements personal
telephone books, diaries,‘ canceled mail, envelopes keys, clothing, and
identification documents

2. If after performing the search of the TARGET LOCATION, it does not reveal
evidence of theft of government property or other criminal activity, any further search of the

TARGET LOCATION shall cease

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